Case 2:22-cv-01439-JP   Document 24-3   Filed 08/26/22   Page 1 of 8




   EXHIBIT C
8/26/22, 9:17 AM       Case 2:22-cv-01439-JP         Document
                                 The Only Way to Report              24-3
                                                        Police Misconduct         Filed Is08/26/22
                                                                          in Philadelphia                  Page
                                                                                           to Go to the Police     2 ofPhiladelphia
                                                                                                               – NBC10  8




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    PHILADELPHIA
    With No Independent Oversight, Only Cops Investigate Cops in
    Philly
    There is no independent review board that only handles complaints against police in Philadelphia. The
    process for filing a complaint can be daunting, advocates say.

    By Brian X. McCrone • Published June 11, 2020 • Updated on August 25, 2020 at 12:25 pm



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    Elected officials appear eager to add funding to independent police oversight in Philadelphia, where civilian
    commissions aren’t able to investigate police misconduct and brutality, NBC10 investigative reporter Mitch
    Blacher found



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8/26/22, 9:17 AM       Case 2:22-cv-01439-JP         Document
                                 The Only Way to Report              24-3
                                                        Police Misconduct         Filed Is08/26/22
                                                                          in Philadelphia                  Page
                                                                                           to Go to the Police     3 ofPhiladelphia
                                                                                                               – NBC10  8
   Alan Yatvin says it's never been easy for a citizen to file a complaint against a Philadelphia police
   officer.



   The first step, after all, is to talk to the police, the longtime defense attorney said.



   "We had lots of stories of clients requesting a citizen complaint form and the officer at the front desk
   would say, 'You have to give me a name and date of birth,'" Yatvin said, adding that it's been a while
   since he had a client who filed a complaint. "The whole thing was designed to intimidate people."



   If a citizen braved the initial round of questioning and filled out the complaint form, he said it could
   disappear into a blue void.



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       your alerts.

   "They’d give the form back and you’d never hear a thing," Yatvin said.



   In Philadelphia, the only agency that investigates police misconduct is the police.



   There is effectively no community review board that handles citizen complaints. That's not the case in
   other big cities like Chicago or New York City, where independent civilian oversight is funded with
   millions of dollars in public money.


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8/26/22, 9:17 AM       Case 2:22-cv-01439-JP         Document
                                 The Only Way to Report              24-3
                                                        Police Misconduct         Filed Is08/26/22
                                                                          in Philadelphia                  Page
                                                                                           to Go to the Police     4 ofPhiladelphia
                                                                                                               – NBC10  8
   Philadelphia's underfunded Police Advisory Commission in the past investigated citizen complaints.
   But since a 2017 restructuring, the commission's task has been to review police department policies
   and issue reports.



   "We haven’t held hearings for a while and that’s related to resources," PAC chairwoman Ronda Goldfein
   said. We have to make the decision about how to give the city the best value. In the end, our resources
   are better used to look at systemic issues."



   That could change as calls for police reforms mount following the death of George Floyd in
   Minneapolis and widespread mass protests last week. Both Philadelphia City Council and Mayor Jim
   Kenney now say that independent reviews of citizen complaints and police misconduct should be
   enacted.



   How to 'Institutionalize' Police Conduct Review in Philadelphia
   Weeklong protests in Philadelphia and across the country put pressure on elected officials and police
   departments to come up with reforms that would add accountability and transparency to police
   misconduct.



   City Council in Philadelphia this week pushed the Kenney administration to act by sending a letter to
   the mayor outlining 15 reforms. Kenney, in turn, announced 29 reforms at the city and state level that
   he would immediately push for, with the help of Police Commissioner Danielle Outlaw.



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8/26/22, 9:17 AM       Case 2:22-cv-01439-JP         Document
                                 The Only Way to Report              24-3
                                                        Police Misconduct         Filed Is08/26/22
                                                                          in Philadelphia                  Page
                                                                                           to Go to the Police     5 ofPhiladelphia
                                                                                                               – NBC10  8




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           👮‍♀️👮‍♂️Philadelphia just released 29 proposed reforms for the city police
           department. They range from officer arrest prohibitions like kneeling on a
           person's neck or head to establishing a permanent civilian oversight board to
           releasing quarterly data on internal department investigations.⁠⠀
           ⁠⠀
            Mayor Jim Kenney and Police Commissioner Danielle Outlaw announced the
            reforms Tuesday afternoon following discussions with City’s Reconciliation
            Steering Committee, City Council and the Police Reform Working Group. "This
            moment is a beginning," Kenney said of the city's commitment.⁠⠀
            ⁠⠀
             “We will be focused on reconciliation, on understanding, and—most
             importantly—on engaging and taking appropriate action in response. We will
             embark on a path toward real change in Philadelphia, and hopefully across
             America. We will seize this moment, and we will move quickly, because too
             many lives are being lost," the mayor said.⁠⠀
             ⁠⠀
              Some of the proposed changes are easily addressed with changes to
              department and city policy, but others are beholden to approval by the
              Fraternal Order of Police, state legislature and governor's office.⁠⠀
              ⁠⠀
               🔗Link in bio for more about how Philly compares to other U.S. cities when it
               comes to police oversight and accountability.
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8/26/22, 9:17 AM       Case 2:22-cv-01439-JP         Document
                                 The Only Way to Report              24-3
                                                        Police Misconduct         Filed Is08/26/22
                                                                          in Philadelphia                  Page
                                                                                           to Go to the Police     6 ofPhiladelphia
                                                                                                               – NBC10  8
   Expanding independent oversight of police misconduct and civilian complaints was on the lists of
   reforms from both Council and Kenney.



   The Police Advisory Commission's current budget is $640,000. That's 0.08% of the police
   department's $776 million budget.



   Mayor Jim Kenney has proposed reducing the commission's funding to $525,000 in the city's 2020-
   2021 budget. City Council is currently holding hearings on the budget that must be approved by June
   30.



   "I was incredibly disappointed," PAC executive director Hans Menos said of the proposed reduction to
   the commission's budget. "I think it’s a lesson. Other cities have figured out that there are going to be
   financial crises and challenges to the budget. We need to institutionalize civilian [police] oversight so it
   can’t be cut when there is a downturn. Too bad we’re not like Chicago and New York City that
   absolutely tie their oversight budget to their police department budget."



   In New York City, the civilian board that hears complaints against the police department has a $19
   million annual budget. Its budget is legally mandated to be 0.65% of the police department's budget



   In Chicago, the police accountability office has a nearly $14 million annual budget, which is required
   by law to be 1% of the police department's.



   How to File a Complaint Against a Cop in Philadelphia and What
   Happens Next
   The job of investigating citizen complaints is within the responsibilities of the police department's
   Internal Affairs Bureau. They then hand off their findings to a commanding officer and possibly the
   Police Board of Inquiry.



   Here's how the whole process works, according to lawyers familiar with the process and PAC officials:



      A citizen must fill out a complaint form and either email or mail it to Internal Affairs, or drop it off at a
      police district or headquarters. The complaint form can be downloaded or obtained at police
      districts, the District Attorney's office, the Police Advisory Commission, neighborhood advisory
      centers and the city Commission on Human Relations.

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8/26/22, 9:17 AM       Case 2:22-cv-01439-JP         Document
                                 The Only Way to Report              24-3
                                                        Police Misconduct         Filed Is08/26/22
                                                                          in Philadelphia                  Page
                                                                                           to Go to the Police     7 ofPhiladelphia
                                                                                                               – NBC10  8
      Internal Affairs detectives investigate the complaint against the police officer, also known as "the
      CAP."

      After the initial investigation and if the complaint is found to be credible, Internal Affairs will hand off
      their findings to the officer's commander.

      The commanding officer will then decide if the findings should be sent to the Police Board of Inquiry
      for a formal hearing or whether the complaint requires only a "commander action," a lesser form of
      punishment that may be a reprimand or a note in the officer's personnel file.

      If the Police Board of Inquiry is handed the investigation, a departmental advocate who acts as the
      internal prosecutor will write up charges. At that point, the officer is "brought to the front," which is
      police parlance for a disciplinary hearing.

      The PBI hearing consists of a three-person panel, which includes a high-ranking department official
      and an officer of the same rank as the cop facing a charge.

      The panel makes a decision on the findings. If the complaint is sustained, the panel also decides on
      a punishment. That decision goes to the commissioner for approval.

      After the commissioner rules on the punishment, the Fraternal Order of Police union is able to grieve
      the finding in front of an arbitrator.


   The entire process is governed by internal police department directives and the collective bargaining
   agreements included in the contract between the City of Philadelphia and the police union.



   "Every time the contract comes up for renewal, there is talk of attacking the arbitration system. But
   then it comes back to Act 111," Yatvin said, referring to a Pennsylvania law that requires certain rules of
   arbitration remain for labor unions representing police officers and firefighters. "It’s hard to change the
   system."



   Menos, the PAC executive director, said he has been pushing for more funding and better access to
   police disciplinary hearings like those of the PBI for years.



   Yet his calls and letters to officials at City Hall and the police commissioner's office did not rouse much
   interest, he said.



   That appears to have changed with the events of the last couple weeks, according to Goldfein, PAC's
   chairwoman.



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8/26/22, 9:17 AM       Case 2:22-cv-01439-JP         Document
                                 The Only Way to Report              24-3
                                                        Police Misconduct         Filed Is08/26/22
                                                                          in Philadelphia                  Page
                                                                                           to Go to the Police     8 ofPhiladelphia
                                                                                                               – NBC10  8
   "That has turned out, over the last two weeks, to be a call that can no longer be ignored," Goldfein said.




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